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                         l!'J THE L'NITED ST ATES DISTRICT COURT
                      FOR THE EASTERJ\J DISTRICT OF PENNSYLVANIA

~3A~K & TRUST

\                                 Plaintiff,
                                                             CIVIL ACTIO~
I
    C.R. LOUGHEAD, INC.                                      NO. 17-5128
I
                                  Defendant.



                       STIPULATIO!'J OF DISMISSAL WITH PREJUDICE

             It is hereby STIPULATED and AGREED, by and between the attorneys for the

    respective parties, counsel for Plaintiff, Crescent Bank & Trust, and counsel for Defendant, C.R.

    Laughead, Inc., that pursuant to Federal Rule of Civil Procedure 41(a)(l)(A)(ii), Plaintiff

    Crescent Bank & Trust voluntary dismisses, with prejudice and without costs, disbursements, or

    attorneys' fees to either party as against the other, the above-referenced matter against the

    Defendant C.R. Laughead, Inc. and requests that the case be closed.

    IT IS SO ORDERED.


    Dated:   -~v 'tJ<L \ 1; _, 2018
                                                               Hon. Berle H. Schiller
                                                               Cnited States District Judge
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